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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE NORTHERN DISTRICT OF ILLINOIS
                                EASTERN DIVISION

ANGELITA VALLE, on behalf of herself,                )
and all other plaintiffs similarly situated,         )
known and unknown,                                   )
                                                     )
                              Plaintiff,             )
                                                     )
       v.                                            )      Case No. 14 C 2075
                                                     )
INSURE ON THE SPOT SERVICES,                         )
MICHAEL G. KARIOTIS, Individually,                   )
BETTY ABBATE, Individually, and                      )
JOANNE ROMANSKA, Individually,                       )
                                                     )
                              Defendants.            )

                                  MEMORANDUM ORDER

       Defendants in this action brought under the Fair Labor Standards Act, the Portal-to-Portal

Act, the Illinois Minimum Wage Law and the Illinois Wage Payment and Collection Act have

filed their Answer to this action brought against them by Angelita Valle ("Valle"), an employee

of defendant Insure On the Spot Services ("Services"), on her own behalf and on behalf of

potential opt-in plaintiffs and class action plaintiffs. This memorandum order is issued sua

sponte to address some problematic aspects of that responsive pleading. 1

       First, Answer ¶ 4a manages to pack two pleading defects into its scant three typewritten

lines. For one thing, its undifferentiated combination of a denial with an attempted (though

defective) disclaimer provides no information as to just which of Valle's allegations are denied

and which are merely disclaimed. And for another, in the latter (disclaimer) respect, defense

counsel have inexplicably and improperly departed from the plain roadmap prescribed by

       1
          This memorandum order should not be misunderstood as necessarily exhaustive -- it
reflects only some obvious matters that have emerged from a preliminary screening of the
Answer.
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Fed. R. Civ. P. 8(b)(5) as the requirement to permit the evidence of both an outright admission

and an outright denial.

        Next, when it comes to the allegations in Count I ¶ 15 and Count V ¶¶ 24, 26 and 27,

once again defense counsel have engaged in not one but two impermissible locutions. As to each

of the statutes referred to in those paragraphs, the answers simply wrongfully assert that the

statute "speaks for itself" -- in that respect, see App'x ¶ 3 to State Farm Mut. Auto. Ins. Co. v.

Riley, 199 F.R.D. 276, 279 (N.D. Ill. 2001). And the other impropriety is an unacceptable denial

of any of the Complaint's allegations "inconsistent therewith" -- a response that provides no

information to the reader as to just what defense counsel are complaining about.

        All of the paragraphs of the Answer referred to in this memorandum order are

accordingly stricken, with leave granted to file an amendment to the Answer curing the flaws

spoken of here on or before June 6, 2014. Failure to file such a curative amendment will cause

the corresponding allegations of the Complaint to be treated as having been admitted.

        No charge may be made to Services by its counsel for the added work and expense

incurred in correcting counsel's errors. Service's counsel are ordered to apprise their client to

that effect by letter, with a copy to be transmitted to this Court's chambers as an informational

matter (not for filing).




                                               __________________________________________
                                               Milton I. Shadur
                                               Senior United States District Judge
Date: May 23, 2014




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